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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



               GOVERNMENT’S LIST OF PROPOSED WITNESSES


        The government hereby submits its final list of proposed witnesses, along

 with estimates of the length of their testimony on direct examination. The

 government intends to call them in the order listed, with leave to vary as trial

 demands dictate. The government has consulted with defense counsel, who provided

 the listed estimates for the length of cross-examination.

               Respectfully submitted this 2nd day of February, 2024.

                                                 COLE FINEGAN
                                                 United States Attorney

  By: /s/ Bryan Fields                         By: /s/ Sarah H. Weiss
  Bryan Fields                                 Sarah H. Weiss
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                             CERTIFICATE OF SERVICE


       I hereby certify that on this 2nd day of February, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record




                                                 By:   /s Bryan Fields
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